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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA
Vv.
Case No. 21-cr-26 (CRC)
CHRISTOPHER MICHAEL ALBERTS,

Defendant.

 

FURTHER RESPONSE TO JURY NOTE OF APRIL 19, 2023 AT 3:15 P.M.

For purposes of Count Five only, the term “bodily harm” means “(1) a cut, abrasion,
bruise, burn, or disfigurement; (2) physical pain; (3) illness; (4) impairment of the function of a
bodily member, organ, or mental faculty; or (5) any other injury to the body, no matter how
temporary.”

Bodily harm and bodily injury are synonymous for purposes of this instruction.

Lit.

CHRISTOPHER R, a
United States District oe
